      Case 2:20-cv-00470-GMS Document 193 Filed 04/21/22 Page 1 of 2



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 6                           UNITED STATES DISTRICT COURT
 7                                  DISTRICT OF ARIZONA
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                                               Case No. CV-20-470-PHX-GMS
 9   Meta Platforms, Inc., et al,
                                               AMENDED [PROPOSED] ORDER
10                        Plaintiffs,          GRANTING PLAINTIFFS’
                                               UNOPPOSED MOTION TO
11          v.                                 TRANSFER DOMAIN NAMES TO
                                               PLAINTIFFS
12   Namecheap, Inc., et al.,
13                        Defendants.
14   AND RELATED COUNTERCLAIMS.
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      Case 2:20-cv-00470-GMS Document 193 Filed 04/21/22 Page 2 of 2



 1          The Court, having read and considered Plaintiffs’ Unopposed Motion to Transfer
 2 Domain Names to Plaintiffs, and good cause appearing, ORDERS that the motion is

 3 GRANTED.

 4          Accordingly, it is ORDERED that Namecheap will take all necessary steps to
 5   transfer the domain names listed in Exhibit 1 to Plaintiffs.
 6          It is further ORDERED that the Court releases from its control and authority all
 7   domain names at issue in the case, pursuant to 15 U.S.C. § 1125(d)(2)(D)(i)(I).
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 9 IT IS SO ORDERED.
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